     Case 4:20-cv-02444 Document 50 Filed on 07/28/21 in TXSD Page 1 of 38
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                   ENTERED
                                                                                   July 28, 2021
                       IN THE UNITED STATES DISTRICT COURT                     Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MAGEMA TECHNOLOGY LLC,                          §
                                                §
                       Plaintiff,               §
                                                §
v.                                              §      CIVIL ACTION NO. H 20-2444
                                                §
PHILLIPS 66, PHILLIPS 66            co•   I

and WRB REFINING L. P.,                         §
                                                §
                       Defendants.              §



                             MEMORANDUM OPINION AND ORDER


       This action is brought by plaintiff, Magema Technology LLC

("Magema"), against defendants, Phillips 66, Phillips 66 Company,

and WRB       Refining L. P.        (collectively,       "Defendants") ,    under the

Patent Act of the United States, 35 U.S.C. § 101, et seq., for

alleged infringement of four United States Patents for refining

marine       fuel   oil: 1    (1)   U.S.      Patent   No.   10,308,884    ("the    '884

Patent•), entitled "Heavy Marine Fuel Oil Composition," issued on

June 4, 2019; 2 (2) U.S. Patent No. 10,533,141 ("the '141 Patent"),

entitled "Process and Device for Treating High Sulfur Heavy Marine

Fuel Oil For Use as Feedstock in a Subsequent Refinery Unit,"

issued on January 14, 2020; 3 (3) U.S. Patent No. 10,604,709 ("the

'709       Patent"),    entitled      "Multi-Stage       Device   and     Process     for


      Complaint for Patent Infringement ("Plaintiff's Complaint"),
       1

Docket Entry No. 1.
       2
           Exhibit 1 to Plaintiff's Complaint, Docket Entry No. 1-1.
       3
           Exhibit 2 to Plaintiff's Complaint, Docket Entry No. 1-2.
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Production of a Low Sulfur Heavy Marine Fuel Oil from Distressed

Heavy Fuel Oil Materials," issued on March 31, 2020; 4 and (4) U.S.

Patent No. 10,584,287 (•the '287 Patent"), entitled "Heavy Marine

Fuel Oil Composition," issued on March 10, 2020. 5            The parties have

filed a P.R. 4 3 Joint Claim Construction and Prehearing Statement

("Joint Claim Construction Statement"), Docket Entry No. 28, asking

the court to construe three disputed terms: One term used in all

four Patents, one term used in the '884 and '141 Patents, and one

term       used   in   the   '884    Patent. 6           Markman   v.   Westview

Instruments, Inc., 116 S. Ct. 1384, 1387 (1996) ("We hold that the

construction of a patent, including terms of art within its claim,

is exclusively within the province of the court. 11).

       In support of its preferred constructions Plaintiff has filed

Magema       Technology      LLC's    Opening    Claim    Construction    Brief



       4
           Exhibit 3 to Plaintiff's Complaint, Docket Entry No. 1-3.
       5
           Exhibit 4 to Plaintiff's Complaint, Docket Entry No. 1-4.

      The parties originally disagreed about the meaning of one
       6

additional term used in slightly different forms in each of the
four patents-at-issue: "compliant with ISO 8217:2017" used in all
asserted claims of the '884 Patent; "complies with ISO 8217 (2017) 11
used in all asserted claims of the '141 Patent; "ISO 8217:2017
compliant" used in all asserted claims of the '287 Patent; and
"complies with ISO 8217" used in all asserted claims of the '709
Patent. But the parties have agreed that all of these terms mean
•meets the bulk physical properties of any of a RMA, RMB, RMD, RME,
RMG, or RMK residual marine fuel as set forth in Table 2 of the ISO
8217:2017 standard."         Joint Claim Construction Statement,
Docket Entry No. 28, pp. 1 2. Page numbers for docket entries in
the record refer to the pagination inserted at the top of the page
by the court's electronic filing system, CM/ECF.

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("Plaintiff's Opening Brief")          (Docket Entry No.        32) ,   Defendants

have     filed    Defendants'     Responsive      Claim     Construction      Brief

("Defendants' Responsive Brief") (Docket Entry No. 33), Plaintiff

has filed Magema Technology LLC's Reply in Support of Its Opening

Claim    Construction     Brief    ("Plaintiff's     Reply")      (Docket    Entry

No. 37), and Defendants have submitted Defendants' Amended Exhibit

to Responsive Claim Construction Brief (Docket Entry No. 44), which

is the Handbook of Petroleum Refining by James G. Speight.                  On July

8,    2019,   the court conducted       a    hearing at      which the      parties

presented argument on the three disputed                  claim terms. 7     After

careful       considering the parties' arguments and the applicable

law, the court construes the disputed claim terms as stated below.



                 I.   Legal Standard for Claim Construction

        In Markman,    116 S.   Ct.   at 13 87,   the United States Supreme

Court held that the construction of patent claims is a matter of

law exclusively for the court.               When the parties dispute the

meaning of particular claim terms,

       the judge's task is not to decide which of the
       adversaries is correct.      Instead the judge must
       independently assess the claims, the specification, and
       if necessary the prosecution history, and relevant
       extrinsic evidence, and declare the meaning of the
       claims.



          Hearing Minutes and Order, Docket Entry No. 45. See also
Markman Hearing Official Reporter's Transcript of Proceedings
("Markman Hearing Transcript"), Docket Entry No. 47.

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Exxon Chemical Patents, Inc. v. Lubrizol Corp., 64 F.3d 1553, 1556

(Fed. Cir. 1995), cert. denied, 116 S. Ct. 2554 (1996).

     Courts begin claim construction by ascertaining the "ordinary

and customary meaning 11 of disputed claim terms.            Phillips v. AWH

Corporation, 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en bane), cert.

denied,   126 S.      Ct. 1332   (2006).     "[T]he ordinary and customary

meaning of a claim term is the meaning that the term would have to

a person of ordinary skill in the art in question at the time of

the invention, i.e., as of the effective filing date of the patent

application.   11
                      Id.   at 1313   (citing Innova/Pure Water,    Inc. v.

Safari Water Filtration Systems,           Inc., 381 F.3d 1111, 1116 (Fed.

Cir. 2004)).        "[T]he person of ordinary skill in the art is deemed

to read the claim term not only in the context of the particular

claim in which the disputed term appears, but in the context of the

entire patent, including the specification."           Id.

     In some cases, the ordinary meaning of claim language as
     understood by a person of skill in the art may be readily
     apparent even to lay judges, and claim construction in
     such cases involves little more than the application of
     the widely accepted meaning of commonly understood words.
     See Brown v. 3M, 265 F.3d 1349, 1352 (Fed. Cir. 2001)
     (holding that the claims did "not require elaborate
     interpretation"). In such circumstances, general purpose
     dictionaries may be helpful.     In many cases that give
     rise to litigation, however, determining the ordinary and
     customary meaning of the claim requires examination of
     terms that have a particular meaning in a field of art.
     Because the meaning of a claim term as understood by
     persons of skill in the art is often not immediately
     apparent, and because patentees frequently use terms
     idiosyncratically, the court looks to "those sources
     available to the public that show what a person of skill
     in the art would have understood disputed claim language

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      to mean."    Innova, 381 F.3d at 1116.     Those sources
      include "the words of the claims themselves, the
      remainder of the specification, the prosecution history,
      and extrinsic evidence concerning relevant scientific
      principles, the meaning of technical terms, and the state
      of the art."

Id. at 1314.         See also Chef America, Inc. v. Lamb-Weston, Inc., 358

F.3d 1371,       1373            (Fed. Cir. 2004)               ( as a general rule ordinary

English words "whose meaning is clear and unquestionable" need no

further construction).

      "Generally speaking,                [courts] indulge a 'heavy presumption'

that a claim term carries its ordinary and customary meaning."

Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir.

2002).      "For example,               if an apparatus claim recites a general

structure    (£..:..9:...:...,   a noun) without limiting that structure to a

specific subset of structures                      (£..:..9:...:...,   with an adjective),        [the

court] will generally construe the term to cover all known types of

that structure that are · supported                               by the patent disclosure."

Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d 1243, 1250

(Fed. Cir. 1998)                 See York Products, Inc. v. Central Tractor Farm

& Family Center, 99 F.3d 1568, 1572 (Fed. Cir. 1996) ("Without an

express intent to impart a novel meaning                                       to claim terms,     an

inventor's claim terms take on their ordinary meaning.").

      There are several exceptions to the general rule that claim

terms carry their ordinary and customary meaning.                                    A "claim term

will not receive its ordinary meaning if the patentee acted as his

own   lexicographer               and   clearly    set            forth    a    definition   of   the

                                                  -5-
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disputed claim term in either the specification or prosecution

history."      CCS   Fitness,     288 F.3d at 1366.        See also Hormone

Research Foundation, Inc. v. Genentech, Inc., 904 F.2d 1558, 1563

(Fed. Cir. 1990), cert. dismissed, 111 S. Ct. 1434 (1991) ("It is

a well-established axiom in patent law that a patentee is free to

be his or her own lexicographer .            . and may use terms in a manner

contrary to or inconsistent with one or more of their ordinary

meanings." )      A claim term may also be interpreted more narrowly

than it otherwise would be �if the intrinsic evidence shows that

the patentee distinguished that term from prior art on the basis of

a particular embodiment, expressly disclaimed subject matter, or

described a particular embodiment as important to the invention."

CCS Fitness, 288 F.3d at 1366-67 (citing Spectrum International,

Inc. v. Sterilite Corp., 164 F.3d 1372, 1378-80 (Fed. Cir. 1998)

(narrowing a claim term's ordinary meaning based on statements that

distinguished the invention from prior art))              "A claim term also

will not have its ordinary meaning if the term                  'chosen by the

patentee so deprive[s) the claim of cl                ' as to require resort

to the other intrinsic evidence for a definite meaning."                Id. at

1367.    Courts      rely   on   intrinsic    and   extrinsic   evidence   when

considering claim construction disputes.             Id. at 1366.




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A.     Intrinsic Evidence

       The language of the claim is "of primary importance, in the

effort    to   ascertain     precisely    what    it    is    that   is     patented."

Phillips, 415 F.3d at 1312          (quoting Merrill v.          Yeomans, 94 U.S.

568, 570 (1876)).       This is "[b]ecause the patentee is required to

'define precisely what his invention is.'"                   Id. {quoting White v.

Dunbar, 7 S. Ct. 72, 75          ( 1886)) .    Courts, therefore, carefully

consider the context within which a particular term is used in an

asserted claim, as well as how the term is used in other claims

within the same patent.        Id. at 1314.       Other intrinsic sources can

also be helpful.       For example, "the specification 'is always highly

relevant to the claim construction analysis'" and can be either

dispositive or "the single best guide to the meaning of a disputed

term."    Id. at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc.,

90 F.3d 1576, 1582 {Fed. Cir. 1996)).                  While "(i]t is therefore

entirely       appropriate    for    a    court,       when     conducting       claim

construction, to rely heavily on the written description [i.:..§L:._, the

specification]        for guidance as to the meaning of the claims,"

Phillips, 415 F.3d at 1317, it is important that the specification

be used only to interpret the meaning of a claim, not to confine

patent claims to the embodiments described therein.                       Id. at 1323

{"although      the    specification      often    describes         very     specific

embodiments of the invention, we have repeatedly warned against

confining the claims to those embodiments").


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       The patent's prosecution history should also be considered

when offered for purposes of claim construction.              Phillips,   415

F.3d at 1317.      The prosecution history "consists of the complete

record of the proceedings before the PTO [Patent and Trademark

Office] and includes the         or art cited during the examination of

the patent."     Id.   •[T]he prosecution his        can often inform the

meaning of the claim language by demonstrating how the inventor

understood the invention and whether the inventor limited the

invention in the course of prosecution,           making the claim scope

narrower than it would otherwise be."                   But "because the

prosecution history represents an ongoing negotiation between the

PTO and the applicant, rather than the final production of that

negotiation, it often lacks the clarity of the specification and

thus is less useful for claim construction purposes."             Id.



B.     Extrinsic Evidence

       The court may also look to extrinsic evidence,              including

dictionaries, treatises, and expert testimony, to help it reach a

conclusion as to a term's meaning.         Id. at 1317 18.    The court must

be mindful that extrinsic evidence may only supplement or clarify

- not displace or contradict - intrinsic evidence.           Id. at 1320 23.




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                  II.   Construction of Disputed Terms

        The   parties   dispute   the   construction      of    three   terms:

(1) "Heavy marine fuel oil" used in all asserted claims of the four

patents-at-issue;       ( 2)   " [having]   a   maximum        [of   kinematic

viscosity/of density/carbon residue]               between the range of .

     . " used in claim 4 of the '884 Patent and all asserted claims of

the '141 Patent; and (3) "a low sulfur hydrocarbon fuel composition

consisting of: a majority by volume of 100% hydroprocessed high

sulfur residual marine fuel oil and a minority by volume of Diluent

materials" used in claims 5, 6, and 8 of the '884 Patent. 8



A.      Technical Background

        The asserted      ents teach a process for making low sulfur

heavy marine fuel oil that complies with two industry standards:

(1) ISO 8217: 2017 from the International Standards Organization

("ISO 8217"); and (2) Revised Annex VI to MARPOL (the International

Convention for the Prevention of Pollution from Ships).                    ISO

8217:2017 contains standards for bulk properties of marine fuels,

which are organized into two families:          "distillate marine fuels"

identified in Table l; and "residue marine fuels" identified in

Table 2.      Revised Annex VI to MARPOL reduced the. maximum sulfur

content of marine fuels from 3.5% by weight to 0.5% effective 2020



      Joint Claim Construction Statement,
        8
                                                   Docket Entry No.        28,
pp. 2-3.

                                     -9-
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("IMO 2020 Sulfur Cap") .            The process taught by the asserted

patents involves hydroprocessing ISO 8217: 2017 compliant heavy

marine fuel oil that has a sulfur content greater than 0.5%, �,

the heavy marine fuel oil being sold before 2020, to reduce the

sulfur to less than 0.5% to comply with the IMO 2020 Sulfur Cap. 9



B.     The Accused Products and Processes

       Plaintiff         accuses   products   and   processes   from   two   of

Defendants' refineries: Bayway and Wood River.10 Plaintiff contends

that the products being processed by Defendants qualify as "heavy

marine fuel oils" as long as they meet                 the   minimum   physical

property requirements for ISO 821 7 residual fuels.                Defendants

disagree, arguing that "'heavy marine fuel oil' should be limited

to residual fuels that contain process residues, and distillates do

not contain process residues. These differences between the claims

and the accused processes help place the disputed terms into

context. " 11



       Plaintiff's Opening Brief, Docket Entry No. 32, p. 6 (citing
       9

Declaration of Miranda Y. Jones in Support of Magema Technology
LLC's Opening Claim Construction Brief ("Jones Declaration"),
Docket Entry No. 32-1, and Exhibit 5 attached thereto, ISO 8217,
Petroleum Products - Fuels (Class F) - Specifications of marine
fuels, Docket Entry No. 32-6, pp. 15-16 (Table 1), and 17-18
(Table 2)). See also Plaintiff Magema Technology LLC's Technology
Tutorial ("Plaintiff's Technology Tutorial"), Docket Entry No. 30,
pp. 7-8, and 11-12; Defendants' Responsive Brief, Docket Entry
No. 3 3 , pp. 9 -1 o.
       10
            Defendants' Responsive Brief, Docket Entry No. 33, pp. 10 11.

       11   Id. at 11.

                                       -10-
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C.     Analysis

        Plaintiff argues that      the terms at issue do not require

construction because •[e]ach term has a well understood me                in

the art and some even in everyday parlance               (�,     'maximum,'

'minority,' and 'majority') ." 12     Plaintiff argues that •Defendants'

proposed interpretations should all be            ected, " 13 because

       Defendants' proposed constructions          impermissibly
       seek to change the meaning and scope of the asserted
       claims by importing limitations from the specification or
       prosecution history, excluding disclosed embodiments, and
       wholly disregarding the express claim language and the
       intrinsic   record,   thereby   violating   the   bedrock
       principles of claim constructions        14



       Defendants ask the court to adopt their constructions of the

disputed terms, arguing that Magema's technology relates to old

refining technology,             hydroprocessing fuels to reduce sulfur

content, that to obtain protection over a crowded field, Magema

narrowed its invention to hydroprocessing residual fuels, which

Defendants contend contain •process residues,"         which are •residual

hydrocarbons that did not boil or vaporize during a distillation

process." 15     Defendants also argue that Magema represented to the

Patent Office that its claims do not capture fuel blends, but now

takes the opposite position by accusing blends of infringement. 16



                 iff•s Opening Brief, Docket Entry No. 32, p. 5.

               at 8.



           fendants' Responsive Brief, Docket Entry No. 33, p. 7.



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     1.      "Heavy Marine Fuel Oil"



 Disputed       Patent       Plaintiff's Construction           Defendants'
   Term                                                         Construction
"heavy       '884 Patent:   Plaintiff's Initial           Defendants' Initial
marine       all asserted   Proposal: No construction     Proposal: A fuel oil
fuel oil"    claims;        necessary; plain and          containing a majority
                            ordinary meaning              of process residue
             '141 Patent:   (Docket Entry No. 28,         that does not boil or
             all asserted   p. 2; Docket Entry            vaporize even at
             claims;        No. 32, p. 9) .               vacuum conditions
                                                          (Docket       No. 28,
             '287 Patent:   Plaintiff's Alternative       p. 2) .
             all asserted   Proposal: A petroleum
             claims;        product fuel compliant        Defendants'
                            with the ISO 8217:2017        Alternative Proposal:
             '709 Patent:   standards for bulk            A marine fuel oil
             all asserted   properties of residual        containing a
             claims.        marine fuels except for       substantial amount of
                            the concentration levels      process residue that
                            of the Environmental          has not boiled or
                            Contaminates. (Docket         vaporized even at
                            Entry No. 32, p. 10;          vacuum conditions
                            Docket Entry No. 37,          (Docket Entry No. 33,
                            p. 7) .                       pp . 11 and 2 7) .


     The term "heavy marine fuel oil"               ( "HMFO")   is used in all

asserted claims of the patents at issue, including claims 1, 2, 4 6

of the '884 Patent; Claims 1 4 of the         1
                                                  141 Patent; Claims 1, 2, 4,

and 5 of the '709 Patent; and Claims 1, 4-8 of the '287 Patent. 17

     The term's use in Claim 1 of each patent is illustrative: 18




     17
          Plaintiff's Opening Brief, Docket Entry No. 32, p. 9.

     iaid.

                                       12-
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'884 Patent         A low sulfur heavy marine fuel oil .   . wherein
                    the low sulfur heavy marine fuel oil is compliant
                    with ISO 8217:2017 and is     . [Col. 25:27-34]

                      .   high sulfur heavy marine fuel oil, wherein
                    prior to hydroprocessing the high sulfur heavy
                    marine fuel oil is compliant with ISO 8217:2017
                    and is .     [Col. 25:28-30]
'141 Patent         A process for treating high sulfur Heavy Marine
                    Fuel Oil for use as feedstock       . wherein the
                    Feedstock Heavy Marine Fuel Oil complies with ISO
                    8217 (2017)       [Col. 25:25 4 o l
'709 Patent         .     wherein the pre-treated Feedstock Heavy
                    Marine Fuel Oil complies with ISO 8217
                    [Col. 41:12-13]
'287 Patent         A heavy marine fuel oil product that is 8217:2017
                    compliant     . and is made from a heavy marine
                    fuel oil that is ISO 8217:2017 compliant
                    [Col. 25:42-46]


Plaintiff argues that         "[a]s shown above,      the claims themselves

define HMFO as a marine fuel that 'is compliant with ISO 8217. '" 19

       Asserting that the ISO 8217 standard for marine fuel oils

includes two categories: distillate marine fuel oils identified in

Table 1 and residual marine fuels identified in Table 2, Plaintiff

argues       that   "[t]he   word   'heavy'   in   'heavy   marine   fuel   oil'

indicates to a person of ordinary skill in the art that the claims

are directed to the fuel grades in ISO 8217:2017 Table 2 for

residual marine fuels as opposed to Table 1." 20             Plaintiff argues

that




       20
            Id. at 9 10.

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     [t] o the extent that the Court should be inclined to
     provide a construction of HMFO, consistent with the
       ain, ordinary, and well-understood meaning of this term
       and to avoid any uncertainty - the patentees provide an
     explicit definition of HMFO in the Magema Patents'
     specifications,    thereby    acting    as   their    own
     lexicographer, as shown below:

                          DETAILED DESCRIPTION

                The inventive concepts as described
           herein utilize terms that should be well known
           to one of skill in the art, however certain
           terms are utilized having a specific intended
           meaning and these terms are defined below:

                  Heavy Marine Fuel Oil       (HMFO) is a
             petroleum product fuel compliant with the ISO
             8217:2017 standards for the bulk properties of
             residual   marine   fuels            for   the
             concentration levels of the Environmental
             Contaminates. 21

Asserting that Defendants' proposed construction of "heavy marine

fuel oil" is unsupported by either the intrinsic or the extrinsic

evidence, Plaintiff argues that the court should reject Defendants'

proposed construction because it (1) defines the term in two ways:

first,   by reference to the agreed construction of ISO 8217:2017

compliant, and second, by reference to the type of refinery streams

from which the marine fuel oil is made;       (2) interjects unnecessary

complexity     and   confusion   into    a   term   where   none   exists;

(3) improperly limits the claims to·a specific composition that is



     21   at 10 (quoting '884 Patent at Col. 7:45-54, Docket Entry
No. 1 1, p. 9; and citing '141 Patent at Col. 4:66-5:2, Docket
Entry No. 1 2, pp. 14-15; '709 Patent at Col. 8:4-8, Docket Entry
No. 1 3, p. 24; and '287 Patent at Col. 7:51-54, Docket Entry
No. 1-4, p. 13).

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composed of "a majority" of process residues;                         (4)    rests on many

extrinsic          references;         and   (5}     inexplicably    removes       the   word

"marine"          from the term, thereby broadening the claim scope to

encompass any generic fuel oil. 22

          Defendants argue that Plaintiff's

          proposed definition of "heavy marine fuel oil"
          ignores the defining characteristic of a fuel      �,
          whether it was previously vaporized into a distillate or
          left over as the unvaporized residue - to include any
          fuel so long as it meets the minimum qualifications of
          residual fuels, which are the lowest available grade of
          marine fuel. This interpretation captures higher quality
          fuels, such as the distillates Magema accuses of
          infringing, but contradicts the description of the
          invention throughout the claims, specification, and
          prosecution history. 23

Asserting that              "' heavy    marine fuel oil'      should        be limited to

residual fuels that contain[] process residues, and distillates do

not contain process residues," 24 Defendants initially argued that

the term "heavy marine fuel oil" should be construed to mean •[a]

fuel oil containing a majority of process residue that does not

boil or vaporize even at vacuum conditions." 25                             In response to

Plaintiff's          Opening      Brief,     Defendants     now     urge     the   court    to

construe the term "heavy marine fuel oil" to mean •[a] marine fuel


      Id. at 11-15.
          22
                                   See also Plaintiff's Reply, Docket Entry
No. 37, pp. 7 22.
          23
               Defendants' Responsive Brief, Docket Entry No. 33, p. 7.
          24
               Id. at 11.
          25
               Joint Claim Construction             Statement, Docket Entry No.            28,
p.   2.

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oil containing a substantial amount of process residue that has not

boiled or vaporized even at vacuum               conditions." 26      Defendants

explain that

      [t]he dispute between the parties is whether the claimed
      "heavy marine fuel oil" must contain any process
      residues, because Magema accuses distillates that contain
      no process residues.   To focus the dispute, Defendants
      alter their construction as follows:

            A marine fuel oil containing a substantial
            amount majority of process residue that has
            doe-s- not boiled or vaporize� even at vacuum
            conditions.

      The addition of "marine" negates Magema' s complaint about
      its omission.     The change from "does not boil or
      vaporize" to "has not boiled or vaporized," places the
      focus on what refinery streams are used to make "heavy
      marine fuel oil," as opposed to the specific boiling
      points of that stream.      This is consistent with the
      patents' and the industry's focus       . on the refinery
      stream in distinguishing between distillates, which have
      boiled or vaporized, and residuals, which have not boiled
      or vaporized.       Finally, [c]hanging "majority of" to
      "substantial amount of" is consistent with Magema
      equating "heavy marine fu�l oil" with "residual based
      fuel," and puts aside collateral disputes over how much
      process residue there must be, because requiring any
      process residue resolves the parties' dispute.

           Accordingly, "Heavy marine fuel oil" is a residual
      fuel containing process residues. 27

Defendants argue that their proposed construction is supported by

the specifications, which define             "heavy marine fuel oil"         as a


       Defendants' Responsive Brief, Docket Entry No. 33, pp. 11 and
      26

27.   See also Markman Hearing Transcript, Docket Entry No. 47,
p. 23:18 22.
      27
                      Defendants' Responsive Brief, Docket Entry No. 33, pp. 27-28.
�S�e�e:;;__......;;.al
                     � �so
                         � � Markman Hearing Transcript, Docket Entry No. 47,
pp. 23:14-24:14.

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residual based fuel that contains process residues;                        the claim

language, which limits "heavy marine fuel oil" to residual-based

fuel that contains process residues; the prosecution history, which

emphasizes "heavy marine fuel oil" as a                        residual-based fuel;

extrinsic evidence, which supports construing "heavy marine fuel"

as    containing      a   substantial        amount    of    process   residues;    and

Magema's technology tutorial,                which supports construing "heavy

marine fuel oil" as containing process residues. 28

       After carefully considering all of the parties' arguments and

the applicable law, the court concludes that the term "heavy marine

fuel    oil"     is   clearly     defined      in   the     patents-at issue   as     "a

petroleum product fuel compliant with the ISO 8217:2017 standards

for the bulk properties of residual marine fuels except for the

concentration         levels      of   the     Environmental      Contaminates." 29

Phillips,       415   F.3d   at    1316      ("[O]ur   cases    recognize that      the

specification may reveal a special definition given to a claim term

by the patentee that differs from the meaning it would otherwise

possess.        In such cases, the inventor's lexicography governs.").

Defendants' arguments to the contrary are not persuasive because



       28
            Defendants' Responsive Brief, Docket Entry No. 3 3, pp. 12 -28.

      Plaintiff's Opening Brief, Docket Entry No. 32, p. 10
       29

(quoting '884 Patent at Col. 7:45-54, Docket Entry No. 1-1, p. 9;
and citing '141 Patent at Col. 4:66-5:2, Docket Entry No. 1 2 I
pp. 14 15; '709 Patent at Col. 8:4 8, Docket Entry No. 1-3, p. 24;
and '287 Patent at Col. 7:51-54, Docket Entry No. 1-4, p. 13). See
also Plaintiff's Reply, Docket Entry No. 37, p. 7.

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Plaintiff consistently defines "heavy marine fuel oil" as ISO 8217

residual marine fuels,               fuels that are defined in ISO 8217

Table 2, titled "Residual marine fuels," as opposed to Table 1,

titled "Distillate marine fuels," and because ISO Table             2   does not

require "Residual marine fuels" to contain either a •majority" or

a "substantial" amount of process residues.             To the contrary, Table

2   does not define residual marine fuels by their components but,

instead, by objective physical characteristics that will be easy

for a jury to apply. 30

       Defendants      acknowledge   that     "[t] he    distinction    between

residuals and distillates is well recognized in the industry," 31 and

that

       [i]n two tables, ISO 8217 sets forth specifications for
       categories of marine fuels organized into two families:
       "distillate marine fuels" and "residual marine fuels."
       . . . The two tables prescribe certain maximum or minimum
       physical properties, such as density, that a fuel must be
       in compliance with to be sold as an ISO 8217 compliant
       fuel. 32

No language in either the specifications, the claims, or the

prosecution        histories   of    the     patents-in-suit     support    the


       30
            See Markman Hearing Transcript, Docket Entry No. 47, p. 58:1
21.

        fendants' Responsive Brief, Docket Entry No. 33, p. 7. See
also     at 9 ("The patents and accused products/processes in this
case concern marine fuels. As explained in Magema's patents, there
are two basic marine fuel types: distillate-based marine fuel and
residual-based marine fuel, otherwise known as 'heavy marine fuel
oil.' '844 Pat., Col. 1:5 37[,]" Docket Entry No. 1 1, p. 6).

       32Id.


                                      -18-
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Defendants' contention that the patents use the term "heavy marine

fuel oil" in the manner that Defendants advocate, i.e., as "[a]

fuel oil containing a majority of process residue that does not

boil or vaporize even at vacuum conditions," 33 or as "[a] marine

fuel oil containing a substantial amount of process residue that

has     not        boiled     or    vaporized     even    at    vacuum     conditions.• 34

Nevertheless, asserting that the specifications use the term "heavy

marine         fuel    oil"        interchangeably       with   residual based      fuel,

Defendants argue that

        [i]n the patents, Mag�mi defines "heavy marine fuel oil"
        as •residual based fuel[]• that contains a •mixture of
        process residues" that do not boil or vaporize from a
        distillation column:

                   Residual based fuel oils or Heavy Marine Fuel
                   Oil (HMFO) comprises a mixture of process
                   residues - the fractions that don't boil or
                   vaporize even under vacuum conditions, and
                   have an asp haltene content between 3 and 20
                   percent by weight ( % weight). 35

Defendants           argue    that     "Mag�ma    reiterates       these    definitions,

explaining that 'HMFO is a blend of aromatics, distillates, and

residues generated in the crude oil refinery process,'" 36 and that


        33
             Joint Claim Construction            Statement, Docket Entry No.          28,
p. 2.
        34   Defendants' Responsive Brief, Docket Entry No. 33, p. 11.
        35
           at 12 (quoting '884 Patent at Col. 1:28 32, Docket Entry
No. 1 1, p. 6, and '287 Patent at Col. 1:28-32, Docket Entry No. 1-
4, p. 10).
        36
             Id.   (quoting '884 Patent           at Col.       1:40-41, Docket Entry
                                                                        (continued ... )

                                                19-
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"HMFO is a blend of the residues generated throughout the crude oil

ref        process. " 37

      While    the specifications do          use   "heavy marine fuel oil"

interchangeably with residual-based fuel oil, and residual based

fuel oil is defined in the '884 and '287 Patents as a mixture of

process residues, which are defined in turn as •the fractions that

don't boil or vaporize even under vacuum conditions," Defendants

fail to cite any language in the specifications that requires

"heavy marine fuel oil" to contain either a                 "majority" or a

"substantial amount" of process residues that do not boil or

vaporize     even   at     vacuum   conditions.      Instead,   as   Defendants

recognize,

      Magam� expressly defines both the feed and product "heavy
      marine fuel oil" of its patented invention as "a residual
      petroleum product":

             Feedstock Heavy Marine Oil Fuel is a residual
             petroleum product compliant with the ISO 8217
             standards for the physical properties or
             characteristics of a merchantable HMFO .

             Product HMFO is a residual petroleum product
             based fuel compliant with the ISO 8217
             standards    for     the     pro perties  or
             characteristics of a merchantable HMFO .  38




       ( ••• continued)
      36

No. 1 1, p. 6, and '287 Patent at Col. 1:40 41, Docket Entry No. 1-
4, p. 10)
      37
          (quoting '141 Patent at Col. 1:53-55, Docket Entry No. 1-
2, p. 13, and '709 Patent at Col. 1:53 55, Docket Entry No. 1 3,
p. 21).
      38
              at 13 (quoting '709 Patent at Col. 8:4-7, 13-15, Docket
                                                       (continued ... )

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The   language    cited    by    Defendants     shows     that   the     defining

characteristic of the term "Heavy Marine Fuel Oil" as used in the

patents-in-suit    is     that   it   is   a   residual    petroleum       product

compliant with the ISO 8217 standards for the physical properties

or characteristics of a merchantable HMFO.           The ISO 8217 standards

for residual marine fuels are set forth in ISO 8217 Table 2, which

do not include the requirement urged by Defendants,                .L...£..:..,   that

residual marine fuels contain either a majority or a substantial

amount of process residues that do not boil or vaporize even at

vacuum conditions. 39     Accordingly, the court is not persuaded that


       ( •••continued)
      38

Entry No. 1-3, p. 24)

       Defendants argue that ISO 8217 - through reference to ISO
      39

8216 1 ( "categories of marine fuels"), and ISO 8216 99 (general
"fuels")   imposes a requirement that Table 2 residual marine fuels
include "residues from petroleum processing."            Defendants'
Responsive Brief, Docket Entry No. 33, p. 17 & n. 4.             But
Defendants fail to cite any authority in support of their
contention that "heavy marine fuel oil" must contain either a
"majority" or a "substantial amount" of process residues that do
not boil or vaporize even at vacuum conditions.         See Markman
Hearing Transcript, Docket Entry No. 47, pp. 34:2-16 (THE COURT:
"Is there anything that says it has to contain a majority or
substantial amount of processed residue?      MR. WALKER: The only
thing that we have from the specs is that distillates contain -­
can contain    some of them can contain trace amounts. So anything
above a trace amount is enough to end this dispute here. Now, as
a general matter substantial is a term that is going to solve the
dispute in this case.   Because the distillates we have pulling in
are going to have no, to maybe trace residual -- I'm not even sure
how you would know that, because there's no testing being done for
it -- but distillates are going to be pure .     . "). Moreover, as
Plaintiff points out, ISO 8216-99 has - at best - limited relevance
as it is directed to general fuels, not to marine fuels. And ISO
8216-1, which is more relevant because it classifies marine fuels,
                                                      (continued...)

                                      -21-
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the   patents'         specifications   support   the   Defendants'   proposed

construction.

      Defendants argue that Plaintiff's proposed construction of

"heavy marine fuel oil"          as requiring compliance with ISO 8217

"renders every compliant-with-ISO 8217 limitation superfluous." 40

But, as Plaintiff argues,

      Magema' s construction does not render the claim term
      "compliant with ISO 8217" superfluous, but rather gives
      effect to the language of the claims and the express
      definition    of   HMFO   in  the   asserted    patents'
      specifications. The independent asserted claims use HMFO
      in the following context:

                   •          high sulfur heavy marine fuel oil is
                       compliant with ISO 8217:2017      (Claims 1,
                       5 of the '884 Patent)

                   •          low sulfur heavy marine      fuel oil is
                       compliant with ISO 8217:2017          (Claims 1,
                       5 of the '884 Patent)

                   •           the Feedstock Heavy Marine Fuel Oil
                       complies with ISO 8217 (2017)       (Claim 1
                       of the '141 Patent)

                   •   A heavy marine fuel oil product that is ISO
                       8217:2017 compliant for a residual marine fuel
                             (Claim 1 of the '287 Patent)




      39
           continued)
           ( •••
classifies Table 1 distillate marine fuels in part based on whether
they contain "no residuum" or "trace residuum," but classifies
Table 2 residual marine fuels based on viscosity without mentioning
residuum.   See Plaintiff's Reply, Docket Entry No. 37, pp. 10-11
(quoting ISO 8216-99, Defendants' Exhibit F, Docket Entry No. 33-6,
p. 9) .
      40
           Defendants' Responsive Brief, Docket Entry No. 33, p. 18.

                                        -22-
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              •           a heavy marine fuel oil that is ISO
                  8217:2017 compliant      (Claim 1 of the '287
                  Patent)

              •       . Feedstock Heavy Marine Fuel Oil complies
                  with ISO 8217           (Claim 1 of the '709
                  Patent)

     The claims do not recite a "Heavy Marine Fuel Oil"
     compliance with ISO 8217" as Defendants appear to argue,
     Defs. Br. at 12, but instead, recite the words "that is,"
     "is,11
            or "complies," all of which indicate that the
     claims are defining HMFO as ISO 8217:2017 compliant. 41

Because the patents define "heavy marine fuel oil" as ISO 8217:2017

compliant, and the claims reiterate that definition by stating

repeatedly that "heavy marine fuel oil" is ISO 8217: 2017 compliant,

the court is persuaded that Plaintiff's construction gives meaning

to the claim language itself and is not persuaded that ISO 8217

compliance is a separate claim limitation rendered meaningless by

Plaintiff's construction.

     Defendants argue that Plaintiff ascribed a special meaning to

the term "heavy marine fuel oil" in the prosecution history.          See

Spectrum International, 164     F.3d at 1378 80     (explicit meanings

given to claim terms in order to overcome prior art will limit

those terms accordingly).     In particular, defendants argue that

      [b]efore the Patent Office, Magema     ized that claims
     drawn to "heavy marine fuel oil" are limited to residual
     fuels as opposed to distillates, continued to use "heavy
     marine fuel oil" interchangeably with "residual fuel
     oil," and again made clear that the two types of fuels
     are distinct.



        aintiff's Reply, Docket Entry No. 37, p. 13.

                                  -23-
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                In prosecuting a related patent application, Magema
          distinguished "heavy marine fuel oil" from distillate­
          based fuels, just as Defendants do now. Specifically,
          the Patent Office rejected claims reciting an ISO 8217
          compliant    "Feedstock   Heavy   Marine  fuel   Oil"   in
          prosecuting U.S. Patent Publication No. 2018/0230389 .
            . Magema explained that two of the prior art references
          - "Khaled" - disclosed only "non-residual" hydrocarbons .
               . Magema then argued that, because the "distinction
          between    non-residual     hydrocarbons   and    residual
          hydrocarbons is well recognized by the prior art," one of
          skill in the art would not equate prior art non-residual
          hydrocarbons "with an ISO 8217:2017 compliant residual
          marine fuel feedstock," and, therefore, the claims are
          patentable over the prior art. 42

Defendants argue that these statements in Magema's June 20, 2019,

response to the PTO confirm that                      "' heavy marine fuel oil' is

residual fuel that is distinct from distillate-based fuel are

binding on Magema and require construing 'heavy marine fuel oil' as

a       residual        based   fuel   oil   that    contains process   residues. " 43

Defendants also point to the following statement in the prosecution

history of the '884 Patent as evidence that "heavy marine fuel oil"

must       contain        process      residue:     "Hydroprocessed   ISO   8217:2017

compliant residual fuel oils, such as those taught by the present

application                 ,, 44




      Defendants' Responsive Brief, Docket Entry No. 33, pp. 19 20
          42

(quoting Exhibit I, Reply Under 37 CFR § 1.111 (regarding
Application No. 15/892,603), pp. 2, 5, 26-27, Docket Entry No. 33-
9 pp • 3 6 27 - 28) •
    I           I   f



          43
               Id. at 21-22.
          44
               Id. at 21.

                                              24-
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       But missing from Defendants'             briefing is any disclaimer of

subject matter limiting "heavy marine fuel oil" to Defendants'

proposed construction,          i.e.,     "a marine fuel oil containing a

substantial amount of process residue."                 Instead, the references to

residual fuel oils in the passages from the prosecution history

that    Defendants      cite    merely     point       to   places   where     Magema

distinguished prior art references as not disclosing a marine fuel

oil compliant with the physical properties for an ISO 8217 Table 2

residual marine fuel oil.          Moreover, Defendants fail to cite any

evidence from the prosecution history showing that Magema has ever

limited "heavy marine fuel oil" to "a marine fuel oil containing a

substantial amount of           process     residue that does not            boil or

vaporize even at vacuum conditions."                     Home Diagnostics, Inc. v.

LifeScan, Inc., 381 F.3d 1352, 1358 (Fed. Cir. 2004)                    {"Absent a

clear disavowal or contrary definition in the specification or the

prosecution history, the patentee is entitled to the full scope of

its claim language.")          The court, therefore, is not persuaded that

the prosecution history supports Defendants' proposed construction,

and is, instead, persuaded that the prosecution history supports

Plaintiff's proposed construction of "heavy marine fuel oil."

       Citing industry and governmental definitions, Defendants argue

that    their     proposed     construction       is    fully    supported    by   the

extrinsic       evidence.45      However,       since    the    intrinsic    evidence



       45
            Id. at 23 24.

                                          25-
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overwhelmingly supports the Plaintiff's construction,              and since

extrinsic evidence may only supplement or clarify - not displace or

contradict - the intrinsic evidence, Phillips, 415 F.3d at 1320-23,

the extrinsic evidence is not persuasive.



      2.      "[Having]   a   Maximum        [of   Kinematic   Viscosity/or
              Density/Carbon Residue .        . between the Range of .    "

  Disputed Term        Patent         Plaintiff's          Defendants'
                                      Construction         Construction

 "[having] a        '884 Patent:   No construction    having a [kinematic
 maximum [of        claim 4;       necessary; plain   viscosity/density/
 kinematic                         and ordinary       carbon residue] that is
 viscosity/of       '141 Patent:   meaning applies.   between the range of
 density/carbon     all asserted   Docket Entry           Docket Entry
 residue]           claims.        No. 28, p. 2.      No. 28, p. 2; Docket
 between the                       Docket Entry       Entry No. 33, p. 28.
 range of       "                  No. 32, p. 15;
                                   Docket Entry
                                   No. 37, p. 22.


     Asserting that

     Defendants' second proposed claim term is really
     requesting a construction of multiple claim terms
     pertaining to three claimed physical properties of an
     HMFO - kinematic viscosity, density and carbon residue
     that are recited in the following general format: "having
     a maximum .   . that is between the range of      . , " 46

Plaintiff states that "[f] or ease of reference,           these terms are

collectively referred to herein as the maximum range limitations." 47

The disputed maximum range limitations are found in Claim 4 of the

'884 Patent and Claim 1 of the '141 Patent, as shown below: 48



      46
           Plaintiff's Opening Brief, Docket Entry No. 32, p. 15.

      •1rd.
      48
           Id. at 15-16.

                                      -26-
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'884 Patent,        . wherein low sulfur heavy marine fuel oil has a
Claim 4         maximum kinematic viscosity at 50 ° C. (ISO 3104)
 [Col. 25:45-   between the range from 180 mm 2 /s to 700 mm 2 /s; .
55, Docket
Entry No. 1-       .  a maximum density at 15 ° c. (ISO 3 675) between
1, p. 18]       the range of 991.0 kg/m 3 to 1010.0 kg/m 3 ;
                      a maximum carbon residue-micro method (ISO
                10370) between the range of 18.00% wt. and 20.00%
                wt.
'141 Patent       .   wherein said Feedstock Heavy Marine Fuel Oil
Claim 1         has; a maximum of kinematic viscosity at 50 ° C. (ISO
 [Col. 25:25-   3104) between the range from 180 mm 2 /s to 700 mm 2 /s;
56, Docket
Entry No. 1-
2, p. 25]             wherein said Feedstock Heavy Marine Fuel Oil
                has   . a maximum of density at 15 ° C. (ISO 3675)
                between the range of 991.0 kg/m 3 to 1010.0 kg/m 3 ;
                   .
                  .   and wherein said Product Heavy Marine Fuel Oil
                has: a maximum of kinematic viscosity at 50 ° C. (ISO
                3104) between the range from 180 mm 2 /s to 700 mm 2 /s

                      and wherein said Product Heavy Marine Fuel Oil
                has:       a maximum of density at 15 ° C. (ISO 3675)
                between the range of 991.0 kg/m 3 to 1010.0 kg/m 3



     Asserting that the term "maximum" has an ordinary and well-

understood meaning and requires no further construction, and that

the ISO 8217:2017 standard provides a maximum value for kinematic

viscosity, density, and carbon residue for each grade of residual

marine fuel oil in Table 2, Plaintiff argues that the claims recite

a maximum "between the [recited] range• because they cover multiple

residual fuel oil grades,      each of which has different maximum

values for the three claimed physical properties of an HMFO -

kinematic viscosity,    density   and    carbon residue. 49    Plaintiff

explains that


          at 16.

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      [f]or example, an RMG 500 has a maximum kinematic
     viscosity of 500 mm 2 /s, and accordingly, a marine fuel
     oil having a kinematic viscosity less than or equal to
     500 mm 2 /s qualifies as an RMG 500, as long as it meets
     the other specified physical properties for an RMG 500.
     Similarly, an RMK 700 has a maximum kinematic viscosity
     of 700 mm 2 /s, and accordingly, a marine fuel oil having
     a viscosity of less than or equal to 700 mm 2 /s qualifies
     as an RMK 700, as long as it meets the other specified
     physical properties for a RMK 7 O O.   As such, the term
     "maximum between the [recited] range" will be readily
     understood by a jury and does not require further
     construction. As shown in Magema's technology tutorial
     and reproduced [in Plaintiff's Opening Brief], when
     presented with a lab report showing the physical
     properties of a feedstock sample or product sample, a
     person of ordinary skill in the art - as well as the jury
     - will readily be able to map those properties against
     ISO 8217:2017 Table 2 to assess whether it meets the
     "maximum between the [recited] range" limitation for each
     property. 50

     Plaintiff argues that Defendants' proposal, which removes the

word "maximum" entirely and disregards the range claimed through

the three limitations taken together,           is improper because it

significantly alters the meaning and scope of the claims. 51       Citing

Claim 1 of the        '141   Patent,    Plaintiff argues   that when the

patentees meant "between the range" as opposed to •maximum .

between the range," the claims use such language.          Claim 1 of the

'141 Patent recites that "wherein the Feedstock Heavy Marine Fuel

Oil . . . has a sulfur content (ISO 14596 or ISO 8754) between the




      Id. at 16-17 (citing Exhibit 2 to Plainti ff's Technology
     50

Tutorial, Slide 32, Docket Entry No. 30-2, pp. 38-39).
     51
          Id. at 18-19.

                                       -28-
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range of 5.0 mass % to 1.0 mass %."�     Accordingly, Plaintiff argues

that Defendants' proposed construction should be rejected as a

facially improper attempt to alter the scope of the claims. 53

       Asserting that this "dispute concerns claims for fuels that

have 'a maximum' physical property that is 'between' a range," and

that "this phrasing requires the fuel, which can have non uniform

properties (i.e., mult      le densities), to have a highest level of

that property between the range," 54 Defendants argue that their

proposed "construction captures the only plain meaning of this

phrase as requiring the fuel's physical property to be between the

claimed range. " 55 Defendants argue that Plaintiff's "interpretation

renders the disputed term meaningless because every claim already

requires compliance with ISO 8217, which in turn requires having a

dens        viscosoty, and carbon residue below the prescribed maximum

for the type of fuel at issue. " 56       Defendants also argue that

Plaintiff's position is undermined by the prosecution history of a

related patent, in which the PTO found that Magema' s            view of

identical language was indefinite because



       52
           at 19 (quoting '141 Patent,       Claim 1,    Col. 25:39 42,
Docket Entry No. 1-2, p. 25).



            fendants' Responsive Brief, Docket Entry No. 33, p. 7.

              at 28.

              at 29.

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      [a] broad range or limitation together with a narrow
      range or limitation that falls within the broad range or
      limitation (in the same claim) is considered indefinite,
      since the resulting claim does not clearly set forth the
      metes and bounds of the patent protection desired .
       [And  i]n    response,   Magema   conceded     that   the
      interpretation it now advances is indefinite by amending
      its   claims   in   accord   with   Defendants'    current
      construction and explaining that the amendments were made
      to "correct the recitation of a maximum associated with
      a range. " 57

      After carefully considering the parties' arguments and          the

applicable law, the court concludes that the term "maximum between

the   [recited]   range" is subject only to its plain and ordinary

meaning, which needs no further construction.         See Chef America,

358 F.3d at 1373 (as a general rule ordinary English words "whose

meaning is clear and unquestionable" need no further construction).

Defendants' arguments to the contrary are not persuasive because

Defendants do not dispute Plaintiff's contention that the term

"maximum" has a plain, ordinary, and well-understood meaning that

requires no further construction.        Defendants ask the court to

construe the asserted maximum range limitations to omit the term

"maximum." Because adopting Defendants' proposed construction will

not clarify a disputed term but, instead, will change the scope of




       Id. (quoting Exhibit H, Claim Re jections - 3 5 use § 112
      57

[Claims 1-18], p. 3 � 10, Docket Entry No. 33-8, p. 5; and Exhibit
I,   Reply   Under  37   CPR   §  1.111   (regarding   Application
No. 15/892,603), pp. 3, 10, Docket Entry No. 33-9, pp. 4 (Claim 3)
and 11 ("Claims 3, 8, 9, 12, and 18 have been amended to correct
the recitation of a maximum associated with a range.")). See also
Markman Hearing Transcript, Docket Entry No. 47, p. 79:21 24.

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the patented claims by omitting the word "maximum, " 58 the court does

not find Defendants' proposed construction persuasive.                See Ethicon

Endo-Surgery, Inc. v. United States Surgical Corp., 93 F.3d 1572,

1582    (Fed.     Cir.    1996)    (recognizing   that   courts    may   not   read

limitations out of claims, and citing Exxon Chemical Patents, 64

F.3d at 1557        (for requiring courts to "give meaning to all the

words in [the] claim")).

       Defendants' cite to the prosecution history of a related

patent is unpersuasive both because the prosecution of that patent

is ongoing and subject to change, see Burlington Industries, Inc.

v. Quigg, 822 F.2d 1581, 1583 (Fed. Cir. 1987) ,            59
                                                                  and because the

indefiniteness at issue there was not the indefiniteness of a

disputed term but, instead, the indefiniteness of claims in which

a disputed term appears.           A patent is invalid for indefiniteness if

its claims,       "read in light of the specification de 1 ineating the

patent,     and    the     prosecution    history,   fail    to     inform,    with

reasonable certainty, those skilled in the art about the scope of

the invention."          Nautilus, Inc. v. Biosig Enterprises, Inc., 134 S.

Ct. 2120, 2124 (2014).            Although a determination of indefiniteness


          Plaintiff's Reply, Docket Entry No. 37, p. 24 (asserting
that Defendants' Responsive Brief "avoids the real issue, which is
the fact that Defendants' inexplicable removal of a key word
('maximum') from the express language of the claim improperly
narrows the claim scope").
       59
           Markman Hearing Transcript,    Docket Ent�y No. 47,
pp. 80:8-81:10    (the court's colloquy with defense counsel
disclosing that the related patent has not yet been issued).

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is    intertwined    with    claim   construction,   a   court    must   first

determine what the terms used in a            claim mean before it can

determine whether the patent is invalid for indefiniteness.                See

Harrah's Entertainment v. Station Casinos,           Inc.,      321 F. Supp.2d

1173, 1176 (D. Nev. 2004), aff'd, 154 F. App'x 928 (Fed. Cir. Nov.

15, 2005) (citing Intervet America, Inc. v. Kee-Vet Laboratories,

Inc., 887 F.2d 1050,        (Fed. Cir. 1989) ("Ambiguity, undue breadth,

vagueness, and triviality are matters which go to claim validity,

      . not to interpretation or construction.").

       Several   principles    mitigate   against   ruling    on
       indefiniteness at the Markman stage: first, the high
       burden of proof on the party challenging a patent claim
       for indefiniteness; second, the fact that a claim is not
       indefinite merely because the parties dispute its
       meaning; and, finally, the dispositive effect of a ruling
       on indefiniteness, which invalidates the claim entirely.

Gilead Sciences, Inc. v. Mylan, Inc., Civil Action No. l:14CV99,

2015 WL 1534067, *2 (N.D. W.Va. April 6, 2015).           Although a court

may find a claim invalid for indefiniteness after construing the

term, what a term means to a person of ordinary skill in the art is

a separate question from whether it is sufficiently definite to put

others in the field on notice regarding the bounds of the claims.

Id.     For these reasons, courts have elected to wait to address

indefiniteness at the summary judgment stage.             Id.    (denying the

defendant's indefiniteness argument without prejudice, subject to

renewal during summary judgment).




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     Accordingly,     the   court    concludes    that     the   term   ""maximum

between the [recited] range" is not limited to "between the range

of" as Defendants argue, but, instead, needs no construction and is

subject only to is plain and ordinary meaning.



     3.    "A Low Sulfur Hydrocarbon Fuel Composition Consisting
           Essentially of:   a Majority by Volume of a 100%
           Hydroprocessed High Sulfur Residual Marine Fuel Oil and
           a Minority by Volume of Diluent Materials"



   Disputed Term         Patent              Plaintiff's            Defendants'
                                            Construction           Construction
"A low sulfur         '884 Patent:   No construction             A low sulfur
hydrocarbon fuel      claims 5, 6,   necessary:       and        hydrocarbon
composition           and 8.         ordinary                    fuel
consisting                           applies. Docket Entry       composition
essentially of: a                    No. 28, p. 3, Docket        consisting of a
maj       by volume                  Entry No. 32, p. 20;        100%
of a 100%                            Docket Entry No. 37,        hydroprocessed
hydroprocessed                       p. 26.                      high sulfur
high sulfur                                                      residual marine
residual marine                      Alternative:                fuel oil.
fuel oil and a                       "a majority by volume       Docket
minority by volume                   of a 100%                   No. 28, p. 3;
of Diluent                           hydroprocessed high         Docket
Materials."                          sulfur residual marine      No. 33, p. 30.
                                     fuel oil" means
                                     "greater than 50% by
                                     volume of a 100%
                                     hydroprocessed high
                                     sulfur residual fuel
                                     oil;" and

                                     "a minority by volume
                                     of Diluent Materials•
                                     means less than 50% by
                                     volume of Diluent
                                     Materials." Docket
                                     Entry No. 32, p. 20;
                                     Docket Entry No. 37,
                                     p. 26.


     The disputed term appears in Claim 5 of the '884 Patent, which

claims

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     [a] low sulfur hydrocarbon fuel composition consisting
     essentially of: a majority by volume of a 100%
     hydroprocessed high sulfur residual marine fuel oil and
     a minority by volume of Diluent Materials, wherein prior
     to hydroprocessing the high sulfur heavy marine fuel oil
     is compliant with ISO 8217:2017 but has a sulfur content
     (ISO 14596 or ISO 8754) greater than O. 5 wt. %; and
     wherein the low sulfur heavy marine fuel composition is
     compliant with ISO 8217:2017 and has a sulfur content
     (ISO 14596 or ISO 8754) less than 0.5 wt %; and wherein
     the Diluent Materials are selected from the group
     consisting of: hydrocarbon materials; non hydrocarbon
     materials;   and, solid    materials  and   combinations
     thereof.60

     Asserting that

     Defendants do not appear to dispute the meaning of the
     many terms within this phrase (�, "low sulfur,"
     "hydrocarbon fuel composition," "majority," "minority,"
     or "100% hydroprocessed.") [, but i]nstead, . . . propose
     a construction that completely reads out the "majority,"
     "minority," and Diluent language from the claim,61

Plaintiff argues that "[a] construction that would read out such

significant portions of claim language is improper," 62 and that

"[t)o re-write the claims as Defendants proposed would eliminate a

fundamental difference in claim scope between Claim 1 and claim 5,

ignoring the princ      e of claim differentiation and its presumption

that each claim in a patent has a different scope." 63

     Citing the prosecution history of the '884 Patent, Defendants

argue that "Magema defended its claims with the argument that its




     601
           884 Patent, Col. 25:56 26:7, Docket Entry No. 1-1, p. 18.
     61
          Plaintiff's Opening Brief, Docket Entry No. 32, pp. 20-21.
     62
          Id. at 21.



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patents are not drawn to blends,"64 and is now seeking to change

statements     made   during   the   prosecution   of   the   '884    Patent. 65

Asserting that "Magema's representation concerning the scope of

claim 5 is binding,"66 Defendants argue that

     Magema mistakenly accuses Defendants        of   delet
     "majority" and •minority."     Defendants' construction
     simply makes clear that the "majority" of hydroprocessed
     high sulfur residual fuel is so si      ficant, and the
     "minority" of other materials so insi   ficant, that the
     composition can be characterized as        "essentially"
     hydroprocessed high sulfur residual fuel oil. 67

     Plaintiff replies that "contrary to Defendants'             [argument] ,

Magema did not clearly disavow the use of blends as recited in the

ordinary language of Claim 5 and is not seeking                      to change

statements made during prosecution." 68       Plaintiff argues that

     the prosecution history comports with the plain language
     of Claim 5, understood by the patent office when granted,
     covering a fuel composition consist      essentially of a
         ority" of 100% hydroprocessed high sulfur fuel
     and a "minority" of Diluent Materials. 69
     After carefully considering the        ies' arguments and the

applicable law, the court concludes that the term "[a] low sulfur


      Defendants' Responsive Brief, Docket Entry No. 33, p. 30
     64

(citing Exhibit J, Reply Under 37 CFR § 1.111, 11 21, 49-50, and
54-56, Docket Entry No. 33 10, pp. 17 and 23-24).
     65
          at 31 ( "To the extent Magema's statement made during
prosecution is at odds with the plain language of the claims, it
does not deserve a mulligan.")

             at 30-31.

             at 31.
     68
          Plaintiff's Reply, Docket Entry No. 37, p. 28.



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hydrocarbon fuel composition consisting essentially of: a majority

by volume of a 100% hydroprocessed high sulfur residual marine fuel

oil and a minority by volume of Diluent Materials n is subject only

to    its     plain    and   ordinary      meaning,       which    needs       no    further

construction.          See Chef America, 358 F.3d at 1373 (as a general

rule        ordinary    English        words     "whose       meaning    is     clear      and

unquestionable"         need   no       further       construction)            Defendants'

arguments to the contrary are not persuasive because the terms

"majority"       and     "minority"       have a plain,          ordinary,      and well-

understood meaning that requires no further construction,                                   and

because adopting Defendants' proposed construction will not clarify

a disputed term but, instead, will change the scope of the patented

claims by omitting the words                   "majority n     and "minority.       1170    See

Ethicon       Endo-Surgery,       93    F.3d     at    1582    (courts    may       not    read

limitations out of claims), and Exxon Chemical Patents, 64 F.3d at

1557 (courts must "give meaning to all the words in [the] claim").

       Defendants' cite to the prosecution history is not persuasive

because as Plaintiff explains, "Mag�ma did not clearly disavow the

use of blends as recited in the ordinary language of Claim 5 and is

not seeking            . to change statements made during prosecution.n 71

Instead,


       70
            (asserting that Defendants'   "proposed                           construction
imprope     reads out the 'majority,' 'minority,'                             and Diluent
language from the plain language of Claim 5").



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     [t]he prosecution history explained that the prior art
     disclosed a "fuel oil blend which includes a majority of
     non hydroprocessed residual hydrocarbon in a ratio to the
     other hydrocarbon components" with "no more than 50%
     hydroprocessed hydrocarbons"     (see,   �'     Klussmann
     Declaration (Jones Opening Br. Deel. Ex. 8) at � 10
     (Droubi) (emphasis in original) ) or marine fuel oil
     "blends containing 50% or less of non hydroprocessed
     residual   hydrocarbon   and   thus    are  not   a  100%
     hydroprocessed heavy marine fuel oil"      (     at � 50
     (Kraus) (emphasis added)).      The prosecution history
     further explained that "a low sulfur heavy marine fuel
     oil consisting essentially of a 100% hydroprocessed high
     sulfur heavy marine fuel oil, such a those claimed, are
     not available on the market as bunker fuels." Klussmann
     Declaration (Jones Opening Br. Deel. Ex. 8) at � 5 5
     (emphasis added) .   "Those claimed" refers to "a low
     sulfur heavy marine fuel oil, not the "low sulfur
     hydrocarbon fuel composition" of Claim 5.       The other
     prosecution history statements upon which Defendants
     re      such as "the claimed low sulfur fuel oil
     consist[ing] of a fully finished and ISO 8217:2017
     compliant high sulfur heavy marine fuel oil that has been
     100% hydroprocessed," similarly make distinctions between
     the prior art and the "low sulfur heavy marine fuel oil"
     that is not at issue in Claim 5. 72

Thus, the prosecution history that Defendants cite distinguishes

the prior art and the "low sulfur heavy marine fuel oil" that is

not at issue in Claim 5 of the '884 Patent, which covers a "low

sulfur hydrocarbon fuel composition."TI

     Accordingly, the court concludes that the term "[a] low sulfur

hydrocarbon fuel composition consisting essentially of: a majority

by volume of a 100% hydroprocessed high sulfur residual marine fuel

oil and a minority by volume of Diluent Materials" is not limited



              at 27 28.
     73   Id. at 28.

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to "[a]   low sulfur hydrocarbon fuel composition consisting of a

100% hydroprocessed high         sulfur        residual marine fuel       oil," as

Defendants   argue,   but,     instead,        needs    no construction and         is

subject only to is plain and ordinary meaning.



                                 III.     Order

     For the reasons stated above, the court adopts the following

constructions for the disputed terms:

             Patent                 Disputed                  Construction
                                      Term
 "heavy marine fuel oil"            All                A petroleum product fuel
                                    asserted           compliant with the ISO
                                    claims of          8217:2017 standards for bulk
                                    all                properties of residual
                                    asserted           marine fuels except for the
                                    patents.           concentration levels of the
                                                       Environmental Contaminates.
"[havingJ a maximum [of             '884               No construction necessary;
kinematic viscosity/of              Patent:            plain and ordinary meaning
density/carbon residueJ             claim 4;           applies.
between the range of       "
                                    '141
                                    Patent:
                                    all
                                    asserted
                                    claims.
"A low sulfur hydrocarbon fuel      '884               No construction necessary;
composition consisting              Patent:            plain and ordinary meaning
essentially of: a majority by       claims 5,          applies.
volume of a 100% hydroprocessed     6, and 8.
high sulfur residual marine fuel
oil and a minority by volume of
Diluent Materials"

     SIGNED at Houston, Texas, on this 28th                               2021.




                                                       SIM LAKE
                                          SENIOR UNITED STATES DISTRICT JUDGE

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